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                                                                         FILED
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNI                       JUL 232015
                                                                    CLERK, U.S. DISTRICT COURT
                                                                 SOUTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                   CASE NO. 15CR1899    I3'LS             .      DEPUTY

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
DARIO STEVE SAUCEDA,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice: or

     the Court has granted the motion of the defendant for a judgment of
     acquittal: or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment/Information:




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 7/23/15                               ~--.....
                                            Peter C. Lewis
                                            U.S. Magistrate Judge
